72 F.3d 128NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Homer W. WALKER, Defendant-Appellant.
    No. 95-7428.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Dec. 12, 1995.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CR-93-6, CA-95-745-5-BR)
      Homer W. Walker, Appellant Pro Se.  John Douglas McCullough, Assistant United States Attorney, Raleigh, NC, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Affirmed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Walker, Nos.  CR-93-6;  CA-95-745-5-BR (E.D.N.C. Sept. 13, 1995).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         In light of this disposition, Walker's motion to expedite his appeal is denied as moot
      
    
    